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               UNITED STATES DISTRICT COURT

              SOUTHERN DISTRICT OF GEORGIA

                       SAVANNAH DIVISION

UNITED STATES OF AMERICA          )
                                  )
V.                                )     Case No. CR410-159
                                  )
AL WELCH                          )


                REPORT AND RECOMMENDATION

     Al Welch, one of the defendants in this drug conspiracy case, has

moved to suppress the evidence seized during separate searches of a

residence and hotel room, areas where the government concedes he had a

reasonable expectation of privacy. (Docs. 526 & 530.)' The Court

conducted a hearing on these motions on August 3, 2011. For the

follcwing reasons, the motions should be DENIED.

I. 1BACKGROUND

     This and a related case, United States v. Murdock, No. CR410-160

(S.I. Ga. filed June 10, 2010), stem from a two-year investigation

         upon Hezekiah Murdock, a key figure in a large, multi-district


        All documents referenced in this R&R use the electronic screen-page
         printed across the top of each page by the Court's CM/ECF software.
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drug conspiracy centered in Savannah, Georgia. Michael DeLaTorre, a
member of the Counter Narcotics Team ("CNT"), 2 served as one of the
caseagents for the joint federal-state investigation. He testified that as a
result of a six-month wiretap on Murdock's phone, agents confirmed that
Muidock was a major drug dealer in the Savannah area and determined
that Jermaine Tandy was one of Murdock's drug suppliers.
      On March 9, 2010, the investigators learned through a wiretap
intercept that Tandy was expecting a large shipment of high quality
marjuana the following day and told Murdock that he could have all of
the shipment he wanted. The agents believed that Tandy lived at 12833
Stillhwood Road,' a duplex that adjoins a golf course, for they had
preiously spotted him going in and out of that residence and had seen
him allowing a plumber access to the premises. (Gov't's ex. 1 ("Stiliwood



      2
        CNT is a multi-agency task force that includes members of the local police
and sheriffs departments as well as several other local agencies.
        While DeLaTorre referred to the property as Stiliwood Road both in his
search warrant affidavit and during the suppression hearing, the Court believes that
the true address may be Stillwood Drive. See http://www.google.com/maps (last
visited Aug. 17, 2011). No issue concerning the property's correct address is
presented by the motions filed in this case.

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Roal" search warrant application) at 3.) The agents later learned that

defendant Al Welch also resided
                              d there.
                                 e e.

     The investigators began their surveillance of the residence around

7 a.mn. on March 10, the day of the scheduled marijuana delivery. At 8:23

a.m.J , Tandy drove up in a blue Chrysler Aspen, which the agents

determined to be a rental vehicle. (Gov't's ex. 1 at 4.) Tandy went into

the house and exited carrying a large (2x3 foot) blue plastic storage

container, which he handled easily, as if it were empty. He placed the

container in the Aspen and departed.

     Surveillance agents followed Tandy to South Carolina where he

met', up with his cousin, Vincent Robinson, and Robinson's girlfriend.

They drove around to three banks, and Robinson's girlfriend entered

each
   ^ of them. Later, ^
                     agents
                       g observed TandyYP
                                       purchase gallon-size
                                                 g          Ziploc
                                                               p
plasjtic bags and garbage bags at a Walgreens store. Based on these

        ions and the information gained through the wiretap,

DeLaTorre concluded that Tandy was in the process of acquiring the

          he intended to sell to Murdock later that day. As the reports

came in from the field agents, DeLaTorre prepared a search warrant

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application for the Stiliwood Road address. Upon its completion, he had

the warrant application reviewed and approved by an assistant district

attorney and then presented it to a state recorder's court judge, who

signed the warrant at 1:15 p.m. on March 10, 2010.

        DeLaTorre initially expected Tandy to return to Savannah with the

marijuana, and he planned to execute the warrant at that time. But

while Tandy was still in South Carolina, the surveillance agents elected

to conduct a traffic stop of his vehicle. During a search of the Aspen, the

agents recovered nearly 20 pounds of marijuana packaged in gallon-size

Ziploc bags that were stored inside the blue plastic tub that Tandy had

earlier retrieved from his residence.4

        After Tandy's arrest, the agents executed the warrant at the
still
        ood Road residence. Before they entered, two people bolted from

the back door, jumped the fence, and fled. The agents gave chase and

caught Jerry Welch, defendant Al Welch's brother, about a quarter mile

        ' The information concerning the discovery of the marijuana in the plastic tub
was not developed until after DeLaTorre had prepared his search warrant affidavit.
IndeÔd, the traffic stop of Tandy's vehicle (and consequent discovery of the
marijuana) did not occur until around 5:30 p.m., over 4 hours after the issuance of
the earch warrant for 12833 Stiliwood. Thus, in evaluating probable cause the
Cour$ must be mindful that the state judge had no knowledge that the plastic tub
was actually used to store marijuana.
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from the residence. The other man got away, but agents later

determined that he was Al Welch, for they intercepted his phone call to

Murdock relating that he had run from the house and discarded a

firearm during his flight. Even before they received this information,

however, the agents recovered a Taurus .45 caliber handgun lying on the

groind just beyond the back yard fence that separated 12833 Stillwood

Roaçl from golf course property.

     Several months later, the agents sought to arrest Al Welch

puruant to a warrant. On July 7, 2010, agents unsuccessfully attempted

to 1cate Welch at the Stiliwood Road duplex, his parents' home, and

various other locations where he had promised to meet his parole officer.

(Go',r't's ex. 2 at 2 (Gateway Inn search warrant affidavit).) Eventually,

agents ,spotted him driving a black Dodge Charger with a South Carolina

tag, stopped the vehicle, and took him into custody without incident.

During an inventory search of Welch's car, DeLaTorre detected the

overpowering odor of fresh marijuana emanating from the vehicle and

observed a green leafy substance characteristic of marijuana residue

scattered about the trunk. (Id. at 5.) Based on his training and

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experience, DeLaTorre concluded that the trunk had previously

contained a bulk quantity of marijuana. (Id.) Inside the vehicle agents

also discovered a room key for the Gateway Inn. DeLaTorre handed the

key over to his supervisor, who dispatched Officer Gene Harley to the

hotel.

         The hotel manager confirmed that the room had been rented

earlier in the day to a man who used the name "James Graham." (Id. at

6.) Harley parked out of the way and called a K-9 unit to the scene.

When "Corporal Malachi"' arrived, he dragged his handler from nearly

ten rooms away directly to Room 111, where he sat and barked, alerting

to the presence of illegal drugs. (Id.) Harley stated both in his affidavit

and at the hearing that he heard voices coming from the room and

noticed a slight movement in the room's curtains. (Id.) Concerned that



         Corporal Malachi, a Labrador partnered with Corporal Stephen Darnstaedt,
was nominated for the National "Hero Dog" award this year. According to a
Chatham County Sheriff's Department press release, "Malachi's nose for narcotics
has led to 145 felony arrests and more than a hundred misdemeanors. He has helped
seize nearly a ton of marijuana, 55 firearms and $110,000 in cash." See June 21,
2011 Chatham County Sheriff Department's Press Release, available at
http ://www.chathamsheriff.org/LinkClick.aspx?fileticket = MuDhOJo35oI%3d&tabid
=424&mid= 1130 (last visited Aug. 4, 2011).

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someone (perhaps James Graham) was inside the room and had been

alerted to law enforcement presence by Corporal Malachi's bark, Harley

contacted his supervisor and was instructed to enter the room and secure

it. He knocked, waited about thirty seconds, then opened the door with

the key, announced his presence, and swept the hotel room. He noted an

assault rifle on the floor near the bed, marijuana on the sink in the

bathroom, and two large garbage bags of marijuana in the shower. He

also l, discovered that the television and air conditioning were on, which

explained the voices and restless curtains. After finding no one present,

he and the other agents stepped out of the room and secured it from the

outside. Meanwhile, the hotel manager showed Harley a video of "James

Graham" renting the room. Harley recognized that Graham was actually

Al Welch.

     While the hotel events were unfolding, Agent DeLaTorre drafted a

search warrant affidavit for the room. (Gov't's ex. 2.) After the warrant

was signed, the agents re-entered the room and seized an M-4 assault

rifle and approximately 13 pounds of marijuana.



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II. ANALYSIS

      A. 12833 Stiliwood Road

      Welch contends that the evidence seized from his residence should

be suppressed because: (1) the search warrant was not supported by

probable cause, and (2) the warrant was "anticipatory" and thus Tandy's

arrest obviated the need for the warrant. 6 (Doc. 530 at 2-3.)

      As to the first ground, the task of a court reviewing the validity of a

search warrant is not to make a de novo determination of probable cause

but rather to evaluate whether the issuing magistrate had a "substantial

basis" for finding probable cause. Illinois v. Gates, 462 U.S. 213, 236

(1983); Massachusetts v. Upton, 466 U.S. 727, 722-23 (1984). In making

that determination, a reviewing court should interpret the affidavit in a

"commonsense" rather than "a hypertechnical . . . manner." United

States v. Ventresca, 380 U.S. 102 7 109 (1965). This Court must give




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         The record reflects that both Tandy and Welch were on parole and that as a
condition of parole Tandy may have executed a Fourth Amendment waiver. (Gov't's
ex. 1 at 3.) The government, however, never established that either Tandy or Welch
had signed such a waiver or argued that they had no right to claim the protections of
the Fourth Amendment.
                                         [I]
                                         [-.J
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"great deference" to the state court judge's determination of probable
cause. Gates, 462 U.S. at 236.

     In this case, the state judge had a substantial basis for finding

probable cause existed to search defendant's residence. The affidavit

related that the agents had identified Jermaine Tandy as a regular

supplier of drugs for Hezekiah Murdock. (Gov't's ex. 1 (search warrant

affidavit) at 3.) They knew that Tandy was on felony probation imposed

following a 2009 guilty plea for drug and firearms offenses. (Id.) The

agents believed that Tandy resided at 12833 Stillwood Road, for they had

observed him going in and out of the residence and giving a plumber

access to the premises. On March 9, 2010, the agents received reliable

information that Tandy was expecting "a very large shipment of high

quality marijuana" the following day. (Id. at 3, 4.) While conducting

surveillance early the next morning agents observed Tandy arrive at the

residence in a rental car, and DeLaTorre noted his knowledge that the

use of rental vehicles is a trademark of those engaged in conducting drug

deals. (Id. at 4.) Tandy then exited the premises carrying a large, empty

plastic container and placed it in the back seat of his vehicle. (Id.)
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Agents followed Tandy to South Carolina, where they observed him

travel to three different banks and purchase the type of plastic bags

commonly used by drug dealers to package marijuana. (Id.)

     Based on the totality of the information set forth in the search

warrant affidavit, the state judge reasonably drew the inference that

Tandy was engaged in drug trafficking while on parole for a drug offense,

that he was in the process of acquiring a large shipment of marijuana,

that he intended to use the plastic tub he had retrieved from his

residence to further his marijuana venture, and that other evidence of

his drug trafficking activities was likely stored inside the residence at

12833 Stillwood Road.

     Welch points to the well-established principle that "[p]robable

cause to search requires some nexus between the premises and the

alleged crime." United States v. Bradley, 644 F.3d 1213, 1263 (11th Cir.

2011); United States v. Martin, 297 F.3d 1308, 1314 (11th Cir. 2002) (a

search warrant affidavit should establish a link not only between a

suspect and the residence to be searched but also between that residence

and the suspected criminal activity). But it is equally well-established

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that "[t]he nexus between the objects to be seized and the premises

searched can be established from the particular circumstances involved

and need not rest on direct observation." Bradley, 644 F.3d at 1263

(quoting United States v. Jenkins, 901 F.2d 1075, 1080-81 (11th Cir.

1990)). Here, not only had the agents previously observed Tandy

exercising control over the premises, but on the very day that he was

scheduled to receive a large shipment of marijuana they saw him enter

the residence and retrieve a plastic storage tub before departing for

South Carolina to complete the drug deal. While the affidavit did not

state that the plastic tub was actually used to store the marijuana

shipment (for that information was not then available), it was certainly

reasonable for the state judge to infer that the container was intended to

be used as a receptacle for the expected marijuana shipment. 7 So, the

       ' True, it is possible that Tandy intended to use the plastic container for some
other, entirely legitimate purpose. But a probable cause assessment deals in
probabilities, not certainties, and there is no requirement that a probable cause
finding rule out all such innocent explanations. Gates, 462 U.S. at 238 (probable
cause requires only a "fair probability" that evidence will be found in the place to be
searched; "a prima facie showing" is not required); United States v. $242,484, 389
F.3d 1149, 1160 (11th Cir. 2004) (en bane) (the existence of an "alternative
hypothesis" of innocent behavior does not deprive probable cause evidence of its
probative value). Here, it was a reasonable inference, indeed perhaps the most
reasonable inference, that Tandy planned to use the container in stowing and
transporting his marijuana shipment.
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affidavit set forth persuasive evidence that Tandy kept "packaging

materials" -- one of the items specifically listed in the warrant

application as property to be sought for during the search -- inside his

residence. Once that inference was made, it was reasonable for the state

judge to reach the further inference that additional evidence of Tandy's

drug activities was also likely to be found in the residence. The contrary

inference -- that the plastic storage tub was the only item pertinent to

Tandy's drug activities to be kept inside the residence -- was not

particularly likely under the totality of the information presented to the

issuing judge.'

       Giving due deference to the state judge's determination, the Court

finds that the search warrant affidavit set forth facts sufficient to justify




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         Many courts have recognized that it is reasonable for a magistrate to infer
that drug dealers keep evidence of their drug dealing in their homes. See, e.g., United
States v. Grossman, 400 F.3d 212, 217-18 (4th Cir. 2005); United States v. Miggins,
302 F.3d 384, 393-94 (6th Cir. 2002); United States v. Pitt, 6 F.3d 1366, 1369 (9th Cir.
1993); United States v. Acosta, F. Supp. 2d -, 2011 WL 2401829 (N.D. Ga. June
13, 2011) (collecting cases); 2 WAYNE R. LAFAVE, SEARCH AND SEIZURE § 3.7(d) at 421-
22 & n. 168.1 (2011 ed.).

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the conclusion that evidence of Tandy's drug trafficking activities would

likely be found inside his residence.'

       Even if the Court were to find that the warrant fell short of the

probable cause standard, the agents' reliance upon the warrant was

objectively reasonable, and therefore the evidence seized during its

execution need not be suppressed. The judicially-crafted exclusionary

rule does not apply where an officer acts in objective, good faith reliance

upon a search warrant that is only later determined to be invalid as not

supported by probable cause. United States v. Leon, 468 U.S. 897, 900

(1984) (modifying the Fourth Amendment exclusionary rule to preclude

suppression "of evidence obtained by officers acting in reasonable

reliance on a search warrant issued by a detached and neutral magistrate

but ultimately found to be unsupported by probable cause."). Generally,

evidence obtained under an invalidated search warrant must be

       9 In any event, there is no basis for suppression of the firearm since it was
abandoned. Numerous cases have held that a defendant who discards a firearm while
fleeing from the police effectively abandons his interest in that weapon. See, e.g.,
United States v. Simpson, 439 F.3d 490, 494 (8th Cir. 2006) (defendant abandoned
any interest in a rifle discarded during a police chase); 1 LAFAVE, § 2.6(b). Here, the
gun was discarded during Welch's flight from the agents, a fact that he admitted
during a wiretap intercept.


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suppressed only if the officer "could not have harbored an objectively

reasonable belief in the existence of probable cause." Id. at 926; United

States v. Taxacher, 902 F.2d 867 2 871 (11th Cir. 1990) (the Leon court

"stated that searches conducted pursuant to warrants rarely require

suppression"). Thus, the appropriate question for a reviewing court to

consider is "whether a reasonably well-trained officer would have known

that the search was illegal despite the magistrate's authorization." Leon,

468 U.S. at 922 n. 23.10

       Here, Welch has not even contested the government's good faith

showing, either in his response or at the hearing. Indeed, he seemed to

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         The Leon court reasoned that the purpose of the exclusionary rule -- which is
"to deter police misconduct rather than to punish the errors of judges and
magistrates" -- is not served "when an officer acting with objective good faith has
obtained a search warrant from a judge or magistrate and acted within its scope," for
where there is no police illegality there is nothing to deter. 468 U.S. at 916, 920, 921.
While a warrant issued by a magistrate normally suffices to establish that the officer
acted in good faith in conducting his search, the Court identified four situations
where it would be unreasonable for an officer to rely upon a warrant (and, thus,
where suppression would remain an appropriate remedy): (1) where the magistrate
or judge "was misled by information in an affidavit that the affiant knew was false or
would have known was false except for his reckless disregard of the truth;" (2)
"where the issuing magistrate wholly abandoned his judicial role;" (3) where the
warrant is "based on an affidavit 'so lacking in indicia probable cause as to render
official belief in its existence entirely unreasonable;" and (4) where the warrant is
"so facially deficient. . . that the executing officers cannot reasonably presume it to
be valid." Id. at 923. Welch has not argued that any of these limitations to the Leon
good faith rule is applicable in this case.

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concede at the hearing that the good faith doctrine would apply had (in

his view) the need for the warrant not disappeared when Tandy was

arrested. The Court, however, rejects Welch's characterization of the

warrant as "anticipatory." "An anticipatory warrant is 'a warrant based

upon an affidavit showing probable cause that at some future time (but

not presently) certain evidence of crime will be located at a specified

place." United States v. Grubbs, 547 U.S. 90, 95 (2006) (quoting 2

LAFAVE, § 3.7(c)). DeLaTorre's affidavit, however, established probable

cause to believe that evidence of Tandy's marijuana business was

presently inside his residence. Nor was the warrant made contingent

upon some future event that had to occur before a search was authorized.

This simply isn't a case where the officers knew that contraband was

headed to a specific place and, lacking any other probable cause basis for

a search, sought a warrant in anticipation of the contraband's arrival.

Tandy's arrest, therefore, did not vitiate the probable cause basis for

searching his residence.

     The information set forth in the affidavit established solid grounds

to believe that Tandy dealt drugs and used his residence as a home base

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to store at least some of the items he utilized in his trade. Too, the

government proffered evidence at the hearing showing that DeLaTorre

had an assistant district attorney scrutinize and approve the warrant

application before he presented it to the magistrate. DeLaTorre, then,

did all that he could to verify the warrant's adequacy before having it

executed. The Court is thus persuaded that, from the perspective of a

reasonably well-trained police officer, the affidavit was not "so lacking in

indicia of probable cause as to render official belief in its existence

entirely unreasonable." Leon, 468 U.S. at 923 (quotations omitted).

     B. Gateway Inn Room 111

     Welch next contends that the evidence seized from Gateway Inn

Room 111 should be suppressed. (Doc. 526.) He reasons that even

assuming the initial, warrantless entry was supported by probable cause,

there was no exigency requiring the agents to enter without first

securing a warrant. (Id. at 5-6.) And since the evidence discovered

during that illegal entry prompted and was referenced in the warrant

application, the independent source doctrine does not save the second

warrant-based search. (Id. at 6-7.)

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     This argument also fails. "A warrantless search is allowed

where both probable cause and exigent circumstances exist." United

States v. Tobin, 923 F.2d 1506, 1510 (11th Cir. 1991); United States v.

Floyd, 247 F. App'x 161, 166 (11th Cir. 2007). Exigent circumstances

exist "where the inevitable delay incident to obtaining a warrant must

give way to an urgent need for immediate action." United States v.

Morales, 868 F.2d 1562, 1575 (11th Cir. 1989); Floyd, 247 F. App'x at

166. One "test for whether or not exigent circumstances exist is whether

the facts would lead a reasonable, experienced agent to believe that

evidence might be destroyed or removed before a warrant could be

secured." United States v. Reid, 69 F.3d 1109, 1113 (11th Cir. 1995)

(citing United States v. Rodgers, 924 F.2d 219, 222 (11th Cir. 1991))

     The agents certainly had probable cause to believe that the hotel

room contained contraband. Officer Haley knew that when Welch was

arrested earlier in the day the trunk of his car reeked of marijuana and

contained apparent marijuana residue. Upon the discovery of the hotel

room key in Welch's vehicle, the agents naturally suspected that Welch

had secreted the drugs away in the hotel room prior to his arrest. Once

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the drug dog enthusiastically alerted to the presence of marijuana in the

room, the probable cause requirement was clearly satisfied. United

States v. Smith, 459 F.3d 1276, 1291 (11th Cir. 2006) (citing United

States v. Banks, 3 F.3d 399, 402 (11th Cir. 1993) ("Our circuit has

recognized that probable cause arises when a drug-trained canine alerts

to drugs."))."

      The evidence of the hearing further establishes that exigent

circumstances supported the warrantless entry. As noted above, Harley

credibly testified that he heard voices coming from the room and that he

saw the room's curtains move slightly. Consequently, it was reasonable

for him to assume that someone was inside the room and that they had

been alerted to the agents' presence by Malachi's bark. Given the

agent's well grounded belief that drugs were located in the room, it was

also reasonable for him to conclude that this evidence might be destroyed

before a warrant could be secured. See Kentucky v. King, - U.S. -,

         At the hearing, counsel suggested that it was unclear from the warrant
affidavit whether Malachi was trained to detect drugs. It is well known in this
community that Malachi is a drug detection dog with a stellar record for sniffing out
marijuana. See note 5 supra. More importantly, the warrant affidavit noted that
Malachi alerted on the room "indicating the presence of illegal drugs." (Gov't's ex. 2
at 6.)

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131 S. Ct. 1849, 1856, 1857 (2011) (noting that "the need 'to prevent the

imminent destruction of evidence' has long been recognized as a

sufficient justification for a warrantless search" and that this need

frequently arises in drug cases "because drugs may be easily destroyed").

Consequently, the Court is satisfied that the exigent circumstances

doctrine permitted a brief entry in this instance.'2

      Even if no exigency justified the initial warrantless entry (making

it unlawful), the evidence seized during the later warrant search is

nonetheless admissible. The "exclusionary rule has no application

[where] the Government learned of the evidence from an independent

source." Segura v. United States, 468 U.S. 796, 805 (1984) (internal

quotations omitted). A later search conducted pursuant to a valid

warrant based on independent-source evidence cures the illegality "if the


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         Nor did the agents impermissibly "create" the exigency by allowing the dog
to alert outside the room. King, 131 S. Ct. 1858, 1862-63. There is an important
distinction between police-created exigencies designed to subvert the warrant
requirement and police-created exigencies that naturally arise in the course of a
legitimate criminal investigation. Where the police create the exigency through
conduct that does not transgress the Fourth Amendment's reasonableness
requirement -- such as by knocking on the door of a residence and announcing their
presence -- their warrantless entry to prevent the destruction of evidence is "entirely
lawful." Id. at 1854.

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agents' decision to seek the warrant was [not] prompted by what they

had seen during the initial entry." Murray v. United States, 487 U.S.

533, 542 (1988).

      It is true, as Welch points out, that DeLaTorre's warrant affidavit

explicitly mentioned the assault rifle and marijuana observed by Haley

during his brief initial entry. (Doc. 526-1 at 4.) In general, it is best not

to reference the items discovered during a warrantless exigency-based

entry in a later prepared warrant affidavit, for the warrant must rest on

probable cause evidence developed independently of the warrantless

entry. Under Eleventh Circuit precedent, however, a court can winnow

out the offending affidavit allegations and determine whether the

remaining allegations furnish an independent probable cause basis. So

long as such independent basis exists, and there is credible evidence that

the agents would have sought the warrant even had they not made the

initial entry, the independent source rule saves the search. United States

v. Chaves, 169 F.3d 687, 692-93 (11th Cir. 1999).'

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           From Chaves:

  Having found that the warrantless entry violated the Fourth Amendment, we
  must consider whether the results of the subsequent search, conducted after
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      At the time of his arrest, Welch a known marijuana distributor, was

operating a vehicle that reeked of marijuana. He had a hotel room key in

his possession.'4 A drug dog then practically dragged its handler to the

hotel room from more than ten rooms away and alerted to the presence

of drugs. The Court is satisfied that the agents had ample probable

cause supporting the issuance of the warrant even if the reference to the

marijuana and assault rifle observed by Officer Harley is excluded from

consideration. The Court fully credits DeLaTorre's assertion that he

would have sought a warrant to search the room even before the initial

   the warrant was finally obtained, should have been suppressed. Under this
   Circuit's precedents, where, as here, the search warrant affidavit is based on
   information acquired as a result of an illegal entry, we must look to whether
   the other information provided in the affidavit is sufficient to support a
   probable cause finding. United States v. Glinton, 154 F.3d 1245, 1254-55 (11th
   Cir. 1998). If so, suppression is not required because "the exclusionary rule has
   no application where the government learned of the evidence from an
   independent source," id. at 1255, provided, of course, that "the agents'
   decision to seek the warrant was [not] prompted by what they had seen during
   the initial entry...." Murray v. United States, 487 U.S. 533, 542, 108 S. Ct.
   2529, 101 L.Ed.2d 472 (1988). Accord United States v. Markling, 7 F.3d 1309,
   1314-18 (7th Cir. 1993); United States v. Restrepo, 966 F.2d 964, 968-72 (5th
   Cir. 1992); United States v. Herrold, 962 F.2d 1131, 1139-44 (3d Cir.
   1992); United States v. Gillenwaters, 890 F.2d 679, 681-82 (4th Cir.
   1989); United States v. Salas, 879 F.2d 530, 536-39 (9th Cir. 1989); United
   States v. Veillette, 778 F.2d 899, 903-04 (1st Cir. 1985).

Chaves, 169 F.3d at 692-93.
      14
         The agents discovered that it was Welch -- not "Graham" -- who had rented
the room earlier in the day.
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entry. After all, he had started preparing his warrant affidavit before the

initial entry even occurred.



III. CONCLUSION

        For all of the reasons explained above, the motions to suppress

(docs. 526 & 530) should be DENIED.

        SO REPORTED AND RECOMMENDED this k day of August,

2011.

                                         UNITED8!t                JUDGE.
                                         SOUTHERN DISTRICT OF GEORGIA




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